                       Case 1:24-cr-10360-NMG
2-6   5HYLVHG86'&0$         Document 1-1              Filed 12/02/24            Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: MA/NY                   Category No.      III                   Investigating Agency                HHS-OIG, VA-OIG, USPIS, DOL, IRS



City                                           5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                  &DVH1R
County      Middlesex
                                                6DPH'HIHQGDQW                   1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU
                                                6HDUFK:DUUDQW&DVH1XPEHU 19-mj-6439-MPK, cont'd in Add'l Info.
                                                55IURP'LVWULFWRI
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH                <HV           1R
Defendant Information:                           K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

'HIHQGDQW1DPH       Vishnudat Seodat                                                                      -XYHQLOH           G <HV            ✔ 1R
                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                    G <HV            ✔ 1R
$OLDV1DPH
$GGUHVV             Mattituck, NY

                      1949
%LUWKGDWH <URQO\ BBBBBB                4265
                               661 ODVW BBBBB         M
                                                       6H[BBBBBB         5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown: Zachary Hafer                                          $GGUHVV Cooley LLP, 500 Boylston Street, 14th Floor

%DU1XPEHU        569389                                                                      Boston, Massachusetts 02116

U.S. Attorney Information

$86$      Howard Locker, Mackenzie Queenin                           %DU1XPEHULIDSSOLFDEOH

Interpreter:              <HV     ✔ 1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:       ✔ <HV           1R       ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                  G <HV            ✔
                                                                                                                                                 1R

Matter to be SEALED:                  <HV       ✔ 1R
    :DUUDQW5HTXHVWHG             ✔ 5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                                 
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                       $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH    2UGHUHGE\                                                RQ

Charging Document:                    &RPSODLQW                ✔ ,QIRUPDWLRQ
                                                               G                                          ,QGLFWPHQW

Total # of Counts:                 G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\I

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.                                                  Digitally signed by HOWARD
                                                                      HOWARD LOCKER LOCKER
'DWH 12/2/2024                             6LJQDWXUHRI$86$                                        Date: 2024.12.02 11:04:39 -05'00'
                      Case 1:24-cr-10360-NMG                        Document 1-1            Filed 12/02/24   Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Vishnudat Seodat
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers
          18 USC 1349                                  Conspiracy to commit healthcare fraud                     I
6HW


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 Search warrants (continued): 21-MJ-743 (EDNY); seizure warrants in D. Mass: 20-MJ-6534-MPK,
 20-MJ-6535-MPK, 20-MJ-6536-MPK




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